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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ANKUS, L.L.C.,                                    §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §
                                                  §      CIVIL ACTION NO. 4:22-cv-00355
PHH MORTGAGE CORP. AND USAA                       §
FEDERAL SAVINGS BANK,                             §
                                                  §
       Defendants.                                §


               UNOPPOSED MOTION TO ENLARGE DEADLINE TO
           ANSWER OR OTHERWISE RESPOND TO AMENDED COMPLAINT


       Defendant USAA Federal Savings Bank (“Defendant”) files this Unopposed Motion to

Enlarge Deadline to Answer or Otherwise Respond to Amended Complaint (“Unopposed Motion”),

and respectfully shows the Court as follows:

       Defendant moves the Court to extend its deadline to answer or otherwise respond to Plaintiff

Ankus, L.L.C.’s (“Plaintiff”) First Amended Petition and Application for Temporary Restraining

Order (Doc. No. 1-9) (the “Amended Complaint”) up to and including April 25, 2022. Plaintiff has

agreed to the requested extension and does not oppose the relief sought herein. Accordingly,

Defendant moves the Court to extend its deadline to answer or otherwise respond to the Amended

Complaint up to and including April 25, 2022.

       The relief requested in this Unopposed Motion is not sought for delay, but so that justice may

be done.

       WHEREFORE, PREMISES CONSIDERED, Defendant requests that the Court grant its

Unopposed Motion, extend the deadline for Defendant to answer or otherwise respond to the

Amended Complaint up to and including April 25, 2022, and grant Defendant such other and

further relief as this Court deems just and proper under the circumstances.
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                                               Respectfully submitted,

                                               /s/ Elizabeth Hayes
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                                               ATTORNEYS FOR DEFENDANT
                                               USAA FEDERAL SAVINGS BANK


                              CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that counsel for Defendant conferred with counsel for
Plaintiff regarding the relief sought herein and that Plaintiff agreed, and is unopposed, to the relief
sought herein.

                                               /s/ Elizabeth Hayes
                                               Attorney for Defendant USAA Federal Savings
                                               Bank


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on
February 25, 2022, on all counsel of record via the Court’s CM/ECF system pursuant to the Federal
Rules of Civil Procedure.

                                               /s/ Elizabeth Hayes
                                               Attorney for Defendant USAA Federal Savings
                                               Bank




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